241 F.2d 127
    Leslie R. BEN, doing business as Ben Construction Company, Appellant,v.UNITED STATES of America, Appellee.
    No. 26.
    Docket 24085.
    United States Court of Appeals Second Circuit.
    Argued December 14, 1956.
    Decided February 7, 1957.
    
      I. Gerald Pliskin, Syracuse, N. Y., for appellant.
      Charles K. Rice, Asst. Atty. Gen., Lee A. Jackson, A. F. Prescott and Anthony T. Dealy, Attorneys, Department of Justice, Washington, D. C. (Theodore F. Bowes, U. S. Atty., Northern District of New York, and Bernard Burdick, Asst. U. S. Atty., Syracuse, N. Y., of counsel), for appellee.
      Before SWAN, MEDINA and WATERMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an appeal from the United States District Court for the Northern District of New York rejecting appellant's claim for certain tax refunds. The issue and the facts are well stated in the opinion of the court below. 139 F.Supp. 883. Although the case is a close one, we cannot say the District Court improperly refused to upset the administrator's determination that the applicators were "employees" within the statutory scheme. United States v. Silk, 331 U.S. 704, 67 S.Ct. 1463, 91 L.Ed. 1757; Bartels v. Birmingham, 332 U.S. 126, 67 S.Ct. 1547, 91 L.Ed. 1947; Ringling Bros.-Barnum &amp; Bailey Com. Shows v. Higgins, 2 Cir., 189 F.2d 865; Westover v. Stockholders Pub. Co., 9 Cir., 237 F.2d 948.
    
    Affirmed
    